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                                                                              APPEAL, LC−1, RELEASED
                                    U.S. District Court
           U.S. District Court for the Northern District of Oklahoma (Tulsa)
              CRIMINAL DOCKET FOR CASE #: 4:09−cr−00043−SPF−1

  Case title: USA v. Springer et al                              Date Filed: 03/10/2009
  Other court case numbers: 09−5165 10th Circuit Court           Date Terminated: 04/28/2010
                              10−5101 10th Circuit

  Assigned to: Judge Stephen P Friot
  Appeals court case numbers:
  '10−5055 (#340)' '10th Circuit',
  10−5156 (#428) 10th Circuit


  Defendant (1)
  Lindsey Kent Springer                   represented by Lindsey Kent Springer
  TERMINATED: 04/28/2010                                 #02580−063
                                                         FCI Big Springs
                                                         Federal Correctional Institute
                                                         1900 SEMLER AVE
                                                         BIG SPRINGS, TX 79720
                                                         Email: lindsey@mindspring.com
                                                         PRO SE

                                                         Jerold W Barringer
                                                         P O BOX 213
                                                         NOKOMIS, IL 62075
                                                         217−563−2646
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: CJA or Other Appointment

                                                         Robert Scott Williams
                                                         Taylor Ryan Schmidt &Van Dalsem PC
                                                         1437 S BOULDER AVE STE 850
                                                         TULSA, OK 74119
                                                         918−749−5566
                                                         Fax: 918−749−9531
                                                         Email: law@trsvlaw.com
                                                         TERMINATED: 04/27/2010
                                                         LEAD ATTORNEY
                                                         Designation: Public Defender or Community Defender
                                                         Appointment


  Pending Counts                                         Disposition
  18 USC 371: Conspiracy to Defraud                      BOP 60 months; SR 3 years; Restitution $771,529;
  the United States                                      SMA $100
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  (1)
  26 USC 7201: Tax Evasion                     BOP 60 months consecutive to Ct 1; SR 3 years; SMA
  (2)                                          $100
  26 USC 7201: Tax Evasion and 18
                                               BOP 60 months consecutive to Ct 12 SR 3 years;
  USC 2
                                               SMA $100
  (3)
  26 USC 7201: Tax Evasion and 18
                                               BOP 60 months concurrent to Ct 1,2,3; SR 3 years;
  USC 2
                                               SMA $100
  (4)
  26 USC 7203: Failure to File Tax
                                               BOP 12 months concurrent to Ct 1,2,3; SR 1 year;
  Return
                                               SMA $25
  (5−6)


  Highest Offense Level (Opening)
  Felony


  Terminated Counts                            Disposition
  None


  Highest Offense Level
  (Terminated)
  None


  Complaints                                   Disposition
  None



  Plaintiff
  USA                                    represented by Charles Anthony O'Reilly
                                                        US Department of Justice (Box 972)
                                                        P O Box 972
                                                        Washington, DC 20044
                                                        202−616−0115
                                                        Email: charles.a.o'reilly@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jeffrey Andrew Gallant
                                                        United States Attorney's Office (Tulsa)
                                                        110 W 7TH ST STE 300
                                                        TULSA, OK 74119−1013
                                                        918−382−2715
                                                        Fax: 918−560−7954
                                                        Email: Jeff.Gallant@usdoj.gov
                                                        LEAD ATTORNEY
Case 4:09-cr-00043-SPF Document 449-1 Filed in USDC ND/OK on 03/29/11 Page 3 of 49



                                                              ATTORNEY TO BE NOTICED

                                                              Kenneth P Snoke
                                                              United States Attorney's Office (Tulsa)
                                                              110 W 7TH ST STE 300
                                                              TULSA, OK 74119−1013
                                                              918−382−2700
                                                              Fax: 918−560−7946
                                                              Email: ken.snoke@usdoj.gov
                                                              TERMINATED: 06/08/2010
                                                              LEAD ATTORNEY

   Date Filed    #    Page Docket Text

   03/10/2009     1        DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                           Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains
                           One or More Restricted PDFs

   03/10/2009     2        INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3−4,
                           5−6, Oscar Amos Stilley (2) count(s) 1, 3−4 (pll, Dpty Clk) (Entered:
                           03/10/2009)

   03/10/2009     3        SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty Clk)
                           (Entered: 03/10/2009) Contains One or More Restricted PDFs

   03/18/2009     5        MOTION for Electronic Access by Lindsey Kent Springer as to Lindsey Kent
                           Springer (sjm, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009     6        MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey Kent
                           Springer (sjm, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009     7        BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of Fifth
                           Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk) (Entered:
                           03/18/2009)

   03/18/2009     8        MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                           (Entered: 03/18/2009)

   03/18/2009     9        MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge James
                           H Payne, this case is hereby returned to the Court Clerk for further
                           reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                           Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)

   03/18/2009    10        MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary: Initial
                           Appearance held on 3/18/2009, Arraignment held on 3/18/2009, appointing
                           CJA attorney Robert Scott Williams for Lindsey Kent Springer,
                           setting/resetting bond as to Lindsey Kent Springer (Court Reporter: C1) (kjp,
                           Dpty Clk) (Entered: 03/18/2009)

   03/18/2009    11        ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                           only), appointing CJA attorney as to Lindsey Kent Springer (kjp, Dpty Clk)
                           (Entered: 03/18/2009)

   03/18/2009    12        ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                           Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
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   03/18/2009    13       BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                          Springer (kjp, Dpty Clk) (Entered: 03/18/2009)

   03/19/2009    18       ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                          representation, setting/resetting deadline(s)/hearing(s): (copy of Order mailed
                          to both defendants on 3/19/09) ( Miscellaneous Deadline set for 3/30/2009) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk) (Entered:
                          03/19/2009)

   03/23/2009    19       RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for Electronic
                          Access, 7 Brief in Support of Motion, 6 MOTION for In Camera Review of
                          Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (Snoke, Kenneth) (Entered: 03/23/2009)

   03/24/2009    20       MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent Springer
                          as to Lindsey Kent Springer (Williams, Robert) Modified on 3/25/2009 to
                          reference to Oscar Stilley (tjc, Dpty Clk). (Entered: 03/24/2009)

   03/24/2009    21       MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by Lindsey
                          Kent Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                          3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk). (Entered:
                          03/24/2009)

   03/25/2009             NOTICE of Docket Entry Modification; Error: During e−filing the attorney was
                          prompted to select a case, all defendants were selected; Correction: Edited
                          docket text to remove Oscar Stilley as these pleadings did not name him (Re:
                          20 MOTION to Withdraw Attorney(s), 21 MOTION for Hearing ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          03/25/2009)

   03/25/2009    22       MINUTE ORDER by Magistrate Judge Paul J Cleary, setting/resetting
                          deadline(s)/hearing(s): ( Miscellaneous Hearing set for 3/30/2009 at 02:30 PM
                          before Magistrate Judge Paul J Cleary) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (kjp, Dpty Clk) (Entered: 03/25/2009)

   03/30/2009    23       MINUTES of Proceedings − held before Magistrate Judge Paul J Cleary:
                          Miscellaneous Hearing held on 3/30/2009 re Representation; Defendants Waive
                          Counsel, ruling on motion(s)/document(s): #5 granted, striking/terminating
                          deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar Amos Stilley (Re: 5
                          MOTION for Electronic Access ) (Court Reporter: C1) (kjp, Dpty Clk)
                          (Entered: 03/31/2009)

   03/31/2009    24       MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                          Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                          assigned to case, changing case number to 09−CR−43−SPF as to Lindsey Kent
                          Springer, Oscar Amos Stilley (a−hc, Dpty Clk) (Entered: 03/31/2009)

   04/01/2009    25       MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)

   04/02/2009    26       ORDER by Judge Stephen P Friot (Protective Order), ruling on
                          motion(s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/02/2009)
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   04/03/2009    27       ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                          adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                          Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                          #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                          Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)

   04/07/2009    29       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot,
                          Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge Stephen P
                          Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In Camera
                          Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)

   04/07/2009    30       MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)

   04/08/2009    32       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                          30 MOTION to Clarify appointment of Honorable Judge Stephen P. Friot ) as
                          to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)

   04/10/2009    33       MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)

   04/10/2009    34       ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09 (Re:
                          33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          04/10/2009)

   04/13/2009    35       MOTION for Protective Order Pending Prospective Franks Hearing by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          04/13/2009)

   04/13/2009    36       MOTION to Unseal Document(s) in 03−CR−55E (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)

   04/13/2009    37       MOTION Request for Release of Affidavit and Transcript surrounding issuance
                          of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 04/13/2009)

   04/13/2009    38       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot)
                          (Re: 37 MOTION Request for Release of Affidavit and Transcript surrounding
                          issuance of Search Warrant dated 9.15.05, 35 MOTION for Protective Order
                          Pending Prospective Franks Hearing, 36 MOTION to Unseal Document(s) in
                          03−CR−55E ) as to Lindsey Kent Springer (hbo, Dpty Clk) (Entered:
                          04/13/2009)

   04/15/2009    39       MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)

   04/15/2009    40       NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
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                          UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                          FROM CASE 03−CR−043−CVE (Re: 39 MOTION Unopposed Motion for
                          Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                          03−CR−055−CVE ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)

   04/16/2009    41       ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09 (Re:
                          39 MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                          Affidavit and Materials from Case 03−CR−055−CVE ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/16/2009)

   04/16/2009    42       RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION Request
                          for Release of Affidavit and Transcript surrounding issuance of Search Warrant
                          dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for Bill of
                          Particulars, 35 MOTION for Protective Order Pending Prospective Franks
                          Hearing, 30 MOTION to Clarify appointment of Honorable Judge Stephen P.
                          Friot, 6 MOTION for In Camera Review of Fifth Amendment Proffer, 36
                          MOTION to Unseal Document(s) in 03−CR−55E ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          04/16/2009)

   04/22/2009    43       MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009, ruling
                          on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39 Granted
                          in Part, Denied in part, taking motion(s) under advisement, setting/resetting
                          deadline(s)/hearing(s): ( Motions due by 6/1/2009, Responses due by
                          6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM before Judge Stephen
                          P Friot, Jury Instructions, Voir Dire &Trial Briefs due by 8/3/2009, Pretrial
                          Conference set for 10/21/2009 at 10:00 AM before Judge Stephen P Friot, Jury
                          Trial set for 10/26/2009 at 09:30 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 37 MOTION Request for
                          Release of Affidavit and Transcript surrounding issuance of Search Warrant
                          dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for Bill of
                          Particulars, 39 MOTION Unopposed Motion for Limited Unsealing of Search
                          Warrant and Affidavit and Materials from Case 03−CR−055−CVE, 35
                          MOTION for Protective Order Pending Prospective Franks Hearing, 30
                          MOTION to Clarify appointment of Honorable Judge Stephen P. Friot, 6
                          MOTION for In Camera Review of Fifth Amendment Proffer, 36 MOTION to
                          Unseal Document(s) in 03−CR−55E ) (Court Reporter: Tracy Washbourne)
                          (pll, Dpty Clk) (Entered: 04/22/2009)

   04/27/2009    44       REPLY to Response to Motion (Re: 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 04/27/2009)

   04/29/2009    46       ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                          5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc # 45
                          for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or More
                          Restricted PDFs

   04/30/2009    45       ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                          Protective Order Pending Prospective Franks Hearing, 44 Reply to Response
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                          to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/30/2009)

   05/01/2009             NOTICE of Docket Entry Modification; Error: Duplicate entry, ENTERED IN
                          ERROR; Correction: Sealed PDF as this was a duplicate entry; see Doc # 45 for
                          correct entry (Re: 46 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (tjc, Dpty Clk) (Entered: 05/01/2009)

   05/01/2009    47       NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)

   05/06/2009    48       SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                          Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                          Kenneth) (Entered: 05/06/2009)

   05/08/2009    49       MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                          Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                          Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                          Under Advisement, Taking Motion(s) Under Advisement, Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s) ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          05/08/2009)

   05/12/2009    50       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                          Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing set
                          for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)

   05/15/2009    51       First MOTION to Dismiss Indictment/Information/Complaint for lack of venue
                          (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    52       First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                          Indictment/Information/Complaint for lack of venue ) by Lindsey Kent Springer
                          (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    53       Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    54       Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                          Indictment/Information/Complaint for violations of Paperwork Reduction Act
                          of 1995 ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
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                          (Entered: 05/15/2009)

   05/15/2009    55       Third MOTION to Dismiss Indictment/Information/Complaint pursuant to CIR
                          v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 05/15/2009)

   05/15/2009    56       Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    57       Fourth MOTION to Dismiss Indictment/Information/Complaint for failure to
                          allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    58       Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element )
                          by Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    59       Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                          Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 05/15/2009)

   05/15/2009    60       Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    61       Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    62       Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 05/15/2009)

   05/15/2009    63       Seventh MOTION to Dismiss Indictment/Information/Complaint for failure to
                          allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    64       Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          05/15/2009)

   05/15/2009    65       Eighth MOTION to Dismiss Indictment/Information/Complaint violation of
                          Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)

   05/15/2009    66       Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution ) by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 05/15/2009)

   05/15/2009    67       MOTION to Dismiss Indictment/Information/Complaint for fraud and violation
                          of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as to Oscar
                          Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove defendant
                          Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
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   05/15/2009    68       BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                          Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint )
                          by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                          5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk). (Entered:
                          05/15/2009)

   05/15/2009    69       JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                          Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                          from text (lml, Dpty Clk). (Entered: 05/15/2009)

   05/18/2009             NOTICE of Docket Entry Modification; Error: These documents were filed as
                          to both defendants in error; Correction: Edited docket text and removed
                          Lindsey Kent Springer from text (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 68 Brief in Support of Motion ) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (lml, Dpty Clk) (Entered: 05/18/2009)

   05/26/2009    70       ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                          4/22/2009 &directing government to turn over materials to defendant Stilley,
                          ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for Protective
                          Order Pending Prospective Franks Hearing, 42 Response in Opposition to
                          Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of Scheduling
                          Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Taking Motion(s) Under Advisement, Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s), 44 Reply to Response to Motion, 48 Surreply to
                          Motion ) as to Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk)
                          (Entered: 05/26/2009)

   05/29/2009    71       RESPONSE in Opposition to Motion Fifty−one through Sixty−seven (Re: 67
                          MOTION to Dismiss Indictment/Information/Complaint for fraud and violation
                          of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 69 JOINDER (in [51−66] Generally dispositive
                          filed on May 15, 2009), 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by USA as
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                          to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          05/29/2009)

    06/01/2009   74       MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey) Modified
                          on 6/2/2009; This is a multi−part motion, see Doc # 77 for second event (tjc,
                          Dpty Clk). (Entered: 06/01/2009)

    06/01/2009   75       BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                          Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          Modified on 6/2/2009 to seal parts 22, 23 and 24 (s−srb, Dpty Clk). (Entered:
                          06/02/2009) Contains One or More Restricted PDFs

    06/01/2009   77       MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2009)

    06/02/2009   76       AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For
                          Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          06/02/2009)

    06/02/2009            NOTICE of Docket Entry Modification; Error: Document # 74 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion part
                          as Document # 77 (Re: 74 MOTION to Suppress ) as to Lindsey Kent Springer
                          (tjc, Dpty Clk) (Entered: 06/02/2009)

    06/02/2009   78       SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One or
                          More Restricted PDFs

    06/02/2009   79       SEALED ORDER (s−srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                          correct docket text(s−srb, Dpty Clk) (Entered: 06/02/2009) Contains One or
                          More Restricted PDFs

    06/15/2009   80       RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                          Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand Jury
                          testimony and evidence, 74 MOTION to Suppress ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          06/15/2009)

    06/15/2009   81       REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by Lindsey
                          Kent Springer (With attachments) (Springer, Lindsey) (Entered: 06/15/2009)

    06/15/2009   82       MOTION for Bill of Particulars by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 06/15/2009)

    06/17/2009   85       MINUTE ORDER by Judge Stephen P Friot, setting/resetting
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                          deadline(s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM before
                          Judge Stephen P Friot), ruling on motion(s)/document(s): #83 Denied (Re: 82
                          MOTION for Bill of Particulars, 83 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/17/2009)

    06/17/2009   86       MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 06/17/2009)

    06/18/2009   87       ORDER by Judge Stephen P Friot , directing Sur−Reply, ruling on
                          motion(s)/document(s): #86 Denied (Re: 86 MOTION to Strike Document(s),
                          67 MOTION to Dismiss Indictment/Information/Complaint for fraud and
                          violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                          Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                          MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                          certain specific provisions, 55 Third MOTION to Dismiss
                          Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                          MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                          Second MOTION to Dismiss Indictment/Information/Complaint for violations
                          of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          69 JOINDER of motions filed by Lindsey Springer (in [51−66] Generally
                          dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss Count(s)
                          One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 06/18/2009)

    06/18/2009   88       SEALED MOTION (s−srb, Dpty Clk) Modified on 6/19/2009 to correct event
                          (s−srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More Restricted
                          PDFs

    06/19/2009   89       SEALED MINUTE ORDER (s−srb, Dpty Clk) (Entered: 06/19/2009) Contains
                          One or More Restricted PDFs

    06/19/2009   90       MOTION for Leave to Exceed Page Limitation by USA as to Lindsey Kent
                          Springer (Snoke, Kenneth) (Entered: 06/19/2009)

    06/23/2009   91       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                          Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67 MOTION
                          to Dismiss Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 51 First MOTION to Dismiss
                          Indictment/Information/Complaint for lack of venue, 53 Second MOTION to
                          Dismiss Indictment/Information/Complaint for violations of Paperwork
                          Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) as to
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                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          06/23/2009)

    06/25/2009    93      SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                          Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                          Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                          MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009 to
                          change text to reflect correct event and to change links to reflect base motions
                          (sac, Dpty Clk). (Entered: 06/25/2009)

    06/29/2009            NOTICE of Docket Entry Modification; Error: wrong event selected (Reply);
                          wrong links made; Correction: changed text to reflect correct event (Surreply);
                          created links to base motions (Re: 93 Reply, ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (sac, Dpty Clk) (Entered: 06/29/2009)

    06/30/2009    94      MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)

    06/30/2009    95      ***Remark: 9 subpoenas returned as to Lindsey Kent Springer (s−srb, Dpty
                          Clk) (Entered: 07/01/2009)

    07/01/2009    96      RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas )
                          by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)

    07/01/2009    97      RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of Particulars )
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 07/01/2009)

    07/01/2009    98      Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                          correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                          (Entered: 07/01/2009)

    07/01/2009    99      MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to correct
                          file date (lml, Dpty Clk). (Entered: 07/02/2009)

    07/02/2009   100      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                          #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                          Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                          Indictment/Information/Complaint for fraud and violation of the 5th
                          Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                          on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege certain specific
                          provisions, 77 MOTION for Hearing (submitted as part of Doc # 74 ), 92
                          JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                          Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                          6/15/2009), 69 JOINDER (in [51−66] Generally dispositive filed on May 15,
                          2009), 55 Third MOTION to Dismiss Indictment/Information/Complaint
                          pursuant to CIR v. Duberstein, 94 MOTION to Quash, 51 First MOTION to
                          Dismiss Indictment/Information/Complaint for lack of venue, 53 Second
                          MOTION to Dismiss Indictment/Information/Complaint for violations of
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                          Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                          Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                          Selective Prosecution, 57 Fourth MOTION to Dismiss
                          Indictment/Information/Complaint for failure to allege tax deficiency element,
                          72 MOTION to Suppress Grand Jury testimony and evidence, 82 MOTION for
                          Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s) One, Two, Three
                          and Four, 74 MOTION to Suppress ) (Court Reporter: Tracy Washbourne) (pll,
                          Dpty Clk) Modified on 7/8/2009 to indicate attached PDF has incorrect hearing
                          date. Date hearing held was 7/2/2009 (pll, Dpty Clk). (Entered: 07/02/2009)

    07/02/2009   101      MINUTE ORDER by Judge Stephen P Friot : Following the hearing held this
                          date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot, ruling
                          on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash subpoena ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          07/02/2009)

    07/02/2009   103      SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                          Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                          07/14/2009) Contains One or More Restricted PDFs

    07/08/2009   102      ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)

    07/14/2009   104      BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by USA
                          as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                          07/14/2009)

    07/30/2009   105      Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 07/30/2009)

    08/03/2009   106      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) by Lindsey Kent
                          Springer (Springer, Lindsey) Modified on 8/4/2009 to correct title of event (lml,
                          Dpty Clk). (Entered: 08/03/2009)

    08/03/2009   107      PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)

    08/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correcte event (Re: 106 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          08/04/2009)

    08/04/2009   111      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                          Denied (Re: 106 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty Clk) (Entered:
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                          08/04/2009)

    08/05/2009   112      RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                          Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                          Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac, Dpty
                          Clk). (Entered: 08/05/2009)

    08/05/2009   113      MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                          change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                          seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                          08/05/2009) Contains One or More Restricted PDFs

    08/06/2009            NOTICE of Docket Entry Modification; Error: wrong event selected (Motion to
                          Accelerate/Extend/Reset Hearings/Deadlines); Correction: changed text to
                          reflect correct event (Motion to File Out of Time) (Re: 113 MOTION to File
                          Out of Time ) as to Lindsey Kent Springer (sac, Dpty Clk) (Entered:
                          08/06/2009)

    08/06/2009   114      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 43 Minutes of Motion Hearing, Minutes of Scheduling
                          Conference, Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                          Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 08/06/2009)

    08/06/2009   115      TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on 7/2/09
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 100 Minutes of Motion Hearing, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) Modified on
                          11/5/2009 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          08/06/2009)

    08/06/2009   116      RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document states it is as
                          to defendant Springer only (sac, Dpty Clk). (Entered: 08/06/2009)

    08/06/2009   117      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                          Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
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                          Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)

    08/07/2009   118      MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                          117 Order,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 08/07/2009)

    08/12/2009   119      RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)

    08/12/2009   121      REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                          Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)

    08/12/2009   122      REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by Lindsey
                          Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)

    08/12/2009   123      Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six
                          (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          08/12/2009)

    08/12/2009   124      Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 08/12/2009)

    08/13/2009   125      RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                          Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 08/13/2009)

    08/13/2009   126      NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/13/2009)

    08/17/2009   127      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                          denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion); (Re:
                          118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty Clk)
                          Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk). (Entered:
                          08/17/2009)

    08/17/2009   128      OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury Instructions
                          ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          08/17/2009)

    08/19/2009   130      REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 08/19/2009)

    09/10/2009   134      NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 09/10/2009)

    09/16/2009   135      ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)

    09/18/2009   136      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                          denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
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                          Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge, 123
                          Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six ) as
                          to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                          09/18/2009)

    09/21/2009   137      MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (O'Reilly, Charles) (Entered: 09/21/2009)

    09/21/2009   138      TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                          (Snoke, Kenneth) (Entered: 09/21/2009)

    09/21/2009   139      NOTICE of Government's Proposed Summary of Indictment by USA as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                          9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)

    09/21/2009   141      MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/21/2009)

    09/21/2009   142      TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 09/21/2009)

    09/21/2009   143      NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
                          (Entered: 09/21/2009)

    09/21/2009   144      First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   145      Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   146      Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   147      Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   148      Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   150      Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   151      Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/21/2009)

    09/21/2009   154      OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey Kent
                          Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct event
                          (tjc, Dpty Clk). (Entered: 09/21/2009)

    09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 139 MOTION Government's Proposed
                          Summary of Indictment ) as to Lindsey Kent Springer, Oscar Amos Stilley (tjc,
                          Dpty Clk) (Entered: 09/22/2009)

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                          NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Notice) (Re: 143 MOTION Summary of
                          Indictment ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 09/22/2009)

    09/22/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion for Miscellaneous Relief); Correction: Edited docket
                          text to reflect correct event (Objection) (Re: 154 MOTION Opposition to
                          Prosecution 404(b) ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                          09/22/2009)

    09/22/2009   156      ORDER by Judge Stephen P Friot : setting ex parte hearing, setting/resetting
                          deadline(s)/hearing(s): ( Motion Hearing set for 10/9/2009 at 01:30 PM before
                          Judge Stephen P Friot) (Re: 152 MOTION for Subpoena(s) pursuant to Rule
                          17(b), 141 MOTION for Subpoena(s) under Rule 17 ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/22/2009)

    09/22/2009   157      ORDER by Judge Stephen P Friot re: 10/9/09 ex parte hearing (Re: 152
                          MOTION for Subpoena(s) pursuant to Rule 17(b), 156 Order,,
                          Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                          Deadline(s)/Hearing(s),, 141 MOTION for Subpoena(s) under Rule 17 ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          09/22/2009)

    09/23/2009   158      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Motion Hearing set for 10/21/2009 at 09:00 AM before Judge Stephen P Friot)
                          (Re: 145 Second MOTION in Limine, 150 Sixth MOTION in Limine, 137
                          MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION in Limine
                          regarding hearsay and confrontation issues, 148 Fifth MOTION in Limine,
                          144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147 Fourth
                          MOTION in Limine ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/23/2009)

    09/24/2009   159      MOTION Emergency Motion Regarding Denny Patridge by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 09/24/2009)

    09/25/2009   160      SEALED MOTION (O'Reilly, Charles) Modified on 10/9/2009; this document
                          is STRICKEN per 183 (sac, Dpty Clk). (Entered: 09/25/2009) Contains One or
                          More Restricted PDFs

    09/25/2009   161      RESPONSE in Opposition to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 09/25/2009)

    09/25/2009   162      MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          09/25/2009)

    09/27/2009   163      RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                          DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          09/27/2009)

    09/28/2009   164      REPLY to Response to Motion (Re: 159 MOTION Emergency Motion
                          Regarding Denny Patridge ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/28/2009)
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    09/30/2009   165      MINUTE ORDER by Judge Stephen P Friot : Until further notice, all hearings
                          in this case will be held at the Boulder Courthouse, 224 S Boulder, 3rd Floor
                          Courtroom, Tulsa, OK as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 09/30/2009)

    09/30/2009   166      Fourth MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 09/30/2009)

    09/30/2009   167      MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                          Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 10/1/2009; this is a two−part motion of which only one
                          part was efiled − see 169 for Motion to Clarify (sac, Dpty Clk). (Entered:
                          09/30/2009)

    09/30/2009   168      MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 09/30/2009)

    09/30/2009   169      MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/01/2009)

    10/01/2009            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                          which only one part was efiled; Correction: efiled Motion to Clarify − see 169
                          (Re: 167 MOTION to Reconsider ) as to Lindsey Kent Springer (sac, Dpty Clk)
                          (Entered: 10/01/2009)

    10/01/2009   170      SEALED DOCUMENT (O'Reilly, Charles) Modified on 10/2/2009 to correct
                          title of event (lml, Dpty Clk). (Entered: 10/01/2009) Contains One or More
                          Restricted PDFs

    10/01/2009   171      RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 10/01/2009)

    10/05/2009   172      RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                          DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
                          10/7/2009 to seal pdf pursuant to Court Order # 180 (s−srb, Dpty Clk).
                          (Entered: 10/05/2009) Contains One or More Restricted PDFs

    10/05/2009   173      RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION
                          in Limine regarding hearsay and confrontation issues, 155 JOINDER (in [141,
                          142, 144, 145, 146, 147, 148, 150, and 151] Motions in Limine, for subpoenas
                          pursuant to Rule 17(b), and trial brief filed on 9−21−09), 148 Fifth MOTION in
                          Limine, 144 First MOTION in Limine, 151 Seventh MOTION in Limine, 147
                          Fourth MOTION in Limine ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 10/05/2009)

    10/05/2009   174      SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One or
                          More Restricted PDFs

    10/05/2009   175      RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                          pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                          150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                          trial brief filed on 9−21−09), 141 MOTION for Subpoena(s) under Rule 17 ) by
                          USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
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                          (Entered: 10/05/2009)

    10/05/2009   177      RESPONSE in Opposition to Motion (Re: 137 MOTION in Limine ) by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 10/05/2009)

    10/06/2009   178      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                          Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)

    10/06/2009   179      MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                          and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          10/06/2009)

    10/07/2009   180      SEALED ORDER (s−srb, Dpty Clk) (Entered: 10/07/2009) Contains One or
                          More Restricted PDFs

    10/07/2009   181      SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)

    10/07/2009   182      SEALED DOCUMENT (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)

    10/08/2009   183      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 160
                          SEALED MOTION ) (Documents Terminated: 160 SEALED MOTION ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/08/2009)

    10/08/2009   184      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                          granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 10/08/2009)

    10/08/2009   185      RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                          Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) Modified
                          on 10/9/2009; this document contains two events and that is not allowed with
                          CM/ECF − see 187 for Motion to Accelerate/Extend/Reset Hearings/Deadlines
                          (sac, Dpty Clk). (Entered: 10/08/2009)

    10/08/2009   186      SEALED ORDER (s−srb, Dpty Clk) Modified on 6/4/2010 to unseal per Order
                          # 370 (lml, Dpty Clk). (Entered: 10/08/2009)

    10/08/2009   187      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) (Re:
                          166 Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent
                          Springer (sac, Dpty Clk) (Entered: 10/09/2009)

    10/09/2009            NOTICE of Docket Entry Modification; Error: this document contains two
                          events and combined documents are not allowed in CM/ECF; Correction: efiled
                          Motion to Accelerate/Extend/Reset Hearings/Deadlines − see 187 (Re: 185
                          Response in Opposition to Motion, ) as to Lindsey Kent Springer (sac, Dpty
                          Clk) (Entered: 10/09/2009)

    10/09/2009   188      RESPONSE in Opposition to Motion (Re: 187 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 10/09/2009)

    10/09/2009   189      NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
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    10/09/2009   190      ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 10/13/2009
                          to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)

    10/09/2009   191      SEALED MINUTES (pll, Dpty Clk) (Entered: 10/13/2009) Contains One or
                          More Restricted PDFs

    10/13/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice−Other); Correction: Edited docket text to reflect correct
                          event (Errata/Correction to Document) (Re: 190 Notice (Other) ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (lml, Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   192      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                          Granted in Part, denied in part (Re: 187 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) (to respond), 185 Response in Opposition to Motion,
                          166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent Springer (pll,
                          Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   193      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                          Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)

    10/13/2009   194      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167, 169
                          Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
                          MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                          10/13/2009)

    10/13/2009   195      ***Remark: arrest warrant issued for material witness as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 10/14/2009 to
                          unseal docket entry (sjm, Dpty Clk). (Entered: 10/14/2009) Contains One or
                          More Restricted PDFs

    10/14/2009   196      Opposed MOTION ToOrder O'Reilly to Comply with this Court's Order on
                          Rule 15 Deposition and schedule return flight that is reasonable and on
                          Saturday, October 17, 2009, at 3:35 P.M. by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 10/14/2009)

    10/14/2009   197      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #196
                          Denied (Re: 196 Opposed MOTION ToOrder O'Reilly to Comply with this
                          Court's Order on Rule 15 Deposition and schedule return flight that is
                          reasonable and on Saturday, October 17, 2009, at 3:35 P.M. ) as to Lindsey
                          Kent Springer (pll, Dpty Clk) (Entered: 10/14/2009)

    10/14/2009   198      RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                          Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA as
                          to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to delete
                          "as to" Oscar Stilley since this document is only as to Lindsey Kent Springer
                          (sac, Dpty Clk). (Entered: 10/14/2009)

    10/15/2009            NOTICE of Docket Entry Modification; Error: all defendants were selected as
                          to, but document only pertains to Lindsey Springer; Correction: deleted as to
                          defendant Oscar Stilley (Re: 198 Response in Opposition to Motion, ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sac, Dpty Clk) (Entered:
                          10/15/2009)
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    10/16/2009   200      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                          granted with specific limitations (Re: 179 MOTION Compel Clerk of Court to
                          Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey Kent
                          Springer(djh, Dpty Clk) (Entered: 10/16/2009)

    10/19/2009   201      Second BILL OF PARTICULARS (Re: 184 Order, Ruling on
                          Motion(s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166
                          Fourth MOTION for Bill of Particulars ) by USA as to Lindsey Kent Springer
                          (O'Reilly, Charles) (Entered: 10/19/2009)

    10/20/2009   202      SEALED MOTION (Snoke, Kenneth) Modified on 6/4/2010 to unseal per
                          Order # 370 (lml, Dpty Clk). (Entered: 10/20/2009)

    10/20/2009   203      SEALED ORDER (pll, Dpty Clk) Modified on 6/4/2010 to unseal per Order #
                          370 (lml, Dpty Clk). (Entered: 10/20/2009)

    10/20/2009   204      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One or
                          More Restricted PDFs

    10/20/2009   205      SEALED MOTION (O'Reilly, Charles) (Entered: 10/20/2009) Contains One or
                          More Restricted PDFs

    10/21/2009   207      MINUTES of Proceedings − held before Judge Stephen P Friot: Motion
                          Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling on
                          motion(s)/document(s): #137,155 grant in part, deny in part;
                          144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                          striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in Limine,
                          150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third MOTION
                          in Limine, 149 MOTION in Limine regarding hearsay and confrontation
                          issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151]
                          Motions in Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed
                          on 9−21−09), 148 Fifth MOTION in Limine, 159 MOTION Emergency Motion
                          Regarding Denny Patridge, 144 First MOTION in Limine, 205 SEALED
                          MOTION, 206 MOTION to Exclude MENTION OF THE TESTIMONY OF
                          VIKKI WIGGINS PRIOR TO A REASONABLE TIME AFTER
                          PRODUCTION OF THE TRANSCRIPT OF HER TESTIMONY, 151 Seventh
                          MOTION in Limine, 147 Fourth MOTION in Limine ) (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) (Entered: 10/22/2009)

    10/21/2009   208      ***Remark: Deposition Transcript of Vikki Lynn Wiggins received by court as
                          to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/22/2009)

    10/24/2009   209      PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                          Stilley (O'Reilly, Charles) (Entered: 10/24/2009)

    10/26/2009   212      RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash Testimony
                          of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly, Charles)
                          Modified on 10/27/2009 to remove Lindsey Kent Springer name from text, as
                          his name should not have been selected, as this pleading does not pertain to him
                          (tjc, Dpty Clk). (Entered: 10/26/2009)

    10/26/2009   213      NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
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    10/26/2009   214      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 10/26/2009) Contains One
                          or More Restricted PDFs

    10/26/2009   215      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir Dire/Jury
                          Selection began as to Lindsey Kent Springer, Oscar Amos Stilley (Court
                          Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/26/2009)

    10/26/2009   216      MINUTES of Proceedings − held before Judge Stephen P Friot: Voir Dire/Jury
                          Selection held on 10/26/2009 as to Lindsey Kent Springer, Oscar Amos Stilley
                          (pll, Dpty Clk) (Entered: 10/26/2009)

    10/26/2009   217      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          began as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          (Entered: 10/26/2009)

    10/26/2009   218      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          , continued to following day, setting/resetting scheduling order date(s): ( Jury
                          Trial set for 10/27/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          10/26/2009)

    10/26/2009   219      JOINDER (in 210 Motion to Quash filed on 10/24/09) as to Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 10/26/2009)

    10/27/2009   220      ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                          witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                          10/27/2009)

    10/27/2009   221      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          ruling on motion(s)/document(s): #210 and 219 denied as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Re: 210 MOTION to Quash Testimony of Vikki
                          Wiggins, 219 JOINDER (in 210 Motion to Quash filed on 10/24/09) ) (cds,
                          Dpty Clk) (Entered: 10/27/2009)

    10/28/2009   222      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting deadline(s)/hearing(s): ( Jury Trial set for 10/29/2009 at 09:00
                          AM before Judge Stephen P Friot, Motion Hearing set for 11/3/2009 at 05:30
                          PM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (cds, Dpty Clk) (Entered: 10/28/2009)

    10/29/2009   223      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          ruling on motion(s)/document(s): #145 and 149 Denied, setting/resetting
                          scheduling order date(s): ( Jury Trial set for 10/30/2009 at 09:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (Re:
                          145 Second MOTION in Limine, 149 MOTION in Limine regarding hearsay
                          and confrontation issues ) (cds, Dpty Clk) (Entered: 10/30/2009)

    10/30/2009   229      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): ( Jury Trial set for 11/2/2009 at 09:00
                          AM before Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (cds, Dpty Clk) (Entered: 11/03/2009)

    11/01/2009   224      MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
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                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                          Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating
                          Deadline(s)/Hearing(s) ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 11/2/2009 to SEAL pdfs per chambers(sac,
                          Dpty Clk). (Entered: 11/01/2009) Contains One or More Restricted PDFs

    11/02/2009   225      RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re: 224
                          MOTION to Reconsider ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 11/02/2009)

    11/02/2009   226      SEALED ORDER (s−srb, Dpty Clk) (Entered: 11/02/2009) Contains One or
                          More Restricted PDFs

    11/02/2009   230      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/3/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy
                          Washbourne) (pll, Dpty Clk) (Entered: 11/03/2009)

    11/03/2009   227      OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer, Lindsey)
                          Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered: 11/03/2009)

    11/03/2009   228      NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to correct event
                          (tjc, Dpty Clk). (Entered: 11/03/2009)

    11/03/2009   231      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/4/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/03/2009)

    11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Objection) (Re: 227 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 11/04/2009)

    11/04/2009            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Proposed Jury Instructions); Correction: Edited docket text to
                          reflect the correct event (Notice) (Re: 228 Proposed Jury Instructions ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (tjc, Dpty Clk) (Entered:
                          11/04/2009)

    11/04/2009   233      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): (continued to following day) ( Jury
                          Trial set for 11/5/2009 at 08:15 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/04/2009)
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    11/05/2009   234      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          continued to following Monday, setting/resetting scheduling order date(s): (
                          Jury Trial set for 11/9/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/05/2009)

    11/05/2009   235      ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)

    11/08/2009   236      PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                          Materiality as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          (Entered: 11/08/2009)

    11/08/2009   237      PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)

    11/09/2009   239      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held
                          , continued to following day, setting/resetting scheduling order date(s): ( Jury
                          Trial set for 11/10/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/09/2009)

    11/10/2009   240      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to Thursday ( Jury Trial set
                          for 11/12/2009 at 09:00 AM before Judge Stephen P Friot) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/10/2009)

    11/12/2009   241      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following day ( Jury
                          Trial set for 11/13/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/12/2009)

    11/13/2009   242      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial held,
                          setting/resetting scheduling order date(s): continued to following Monday ( Jury
                          Trial set for 11/16/2009 at 09:00 AM before Judge Stephen P Friot) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                          11/13/2009)

    11/16/2009   243      MINUTES of Proceedings − held before Judge Stephen P Friot: Jury Trial
                          completed, striking/terminating deadline(s)/hearing(s) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 11/17/2009)

    11/16/2009   244      JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)

    11/16/2009   245      JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count 1,2,3−4,5−6
                          and Oscar Amos Stilley (2) Guilty on Count 1,3−4 (pll, Dpty Clk) (Entered:
                          11/17/2009)

    11/16/2009   246      SEALED EXHIBIT(S) to Order/Minutes (Re: 243 Minutes of Jury Trial
                          Completed, Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk)
                          (Entered: 11/17/2009) Contains One or More Restricted PDFs

    11/17/2009   247
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                          ORDER by Judge Stephen P Friot setting supplemental conditions following
                          trial, ruling re: modification of conditions of pretrial release as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)

    11/19/2009   248      MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 11/20/2009; This is a two−part motion, see
                          Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)

    11/19/2009   249      MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                          Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED IN
                          ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)

    11/20/2009            NOTICE of Docket Entry Modification; Error: Document # 248 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion part
                          as Document # 249 (Re: 248 MOTION Extension to File Motion for New Trial
                          ) as to Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009;
                          ENTERED IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)

    11/20/2009   250      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #248
                          Granted (Re: 248 MOTION Extension to File Motion for New Trial ) as to
                          Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/20/2009)

    11/20/2009   252      RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's motion
                          for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                          Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (With
                          attachments) (O'Reilly, Charles) (Entered: 11/20/2009)

    11/30/2009            ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                          number 09−5165 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                          11/30/2009)

    12/04/2009   256      ORDER from Circuit Court denying petition for writ of mandamus (Re:
                          Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered: 12/04/2009)

    12/07/2009   257      REPLY to Response to Motion to Dismiss, Mistrial and Reconsider (Re: 224
                          MOTION to Reconsider ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) Modified on 12/10/2009 to seal PDF; Document
                          STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered: 12/07/2009) Contains
                          One or More Restricted PDFs

    12/08/2009   259      MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                          Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)

    12/08/2009   260      MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                          Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                          Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                          Restricted PDFs

    12/08/2009   262      MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 12/08/2009)

    12/09/2009   264      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                          Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                          Document(s), 261 MOTION for Judgment of Acquittal and MOTION for New
                          Trial, 257 Reply to Response to Motion, 258 Reply to Response to Motion, 260
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                          MOTION for Judgment of Acquittal, 262 MOTION for New Trial )
                          (Documents Terminated: 257 Reply to Response to Motion, 261 MOTION for
                          Judgment of Acquittal and MOTION for New Trial, 258 Reply to Response to
                          Motion, 260 MOTION for Judgment of Acquittal ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 12/09/2009)

    12/10/2009   265      MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal Rules
                          12.1, MOTION 10 days from date of order to refile docket # 257 and # 260 in
                          accordance with Local Civil Rule 7.2 including extended page number therein
                          (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                          Striking/Withdrawing Document(s),,, 257 Reply to Response to Motion, 260
                          MOTION for Judgment of Acquittal ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/10/2009)

    12/11/2009   266      RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set Aside
                          Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2
                          including extended page number therein ) by USA as to Lindsey Kent Springer
                          (With attachments) (O'Reilly, Charles) (Entered: 12/11/2009)

    12/28/2009   270      AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                          12/28/2009)

    12/28/2009   271      MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                          Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)

    12/28/2009   272      BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse, Removal
                          and for Random Reassignment ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 12/28/2009)

    12/28/2009   273      MOTION to Strike Document(s) (Re: 266 Response in Opposition to Motion,
                          259 MOTION to Strike Document(s) ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)

    12/28/2009   274      REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside Order
                          dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                          properly filed under Local Criminal Rules 12.1 MOTION 10 days from date of
                          order to refile docket # 257 and # 260 in accordance with Local Civil Rule 7.2
                          including extended page number therein ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 12/28/2009)

    12/29/2009   275      SEALED DOCUMENT (s−srb, Dpty Clk) (Entered: 12/30/2009) Contains One
                          or More Restricted PDFs

    01/07/2010   276      RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                          USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)

    01/07/2010   277      RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by USA as to Lindsey Kent Springer
                          (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)
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    01/20/2010   279      MOTION for Leave to Exceed Page Limitation in Reply Regarding Springer's
                          Motion for New Trial, by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)

    01/20/2010   280      MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                          Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                          01/20/2010)

    01/20/2010   281      BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE for
                          lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of the
                          Facts and Article III Venue ) by Lindsey Kent Springer (With attachments)
                          (Springer, Lindsey) (Entered: 01/20/2010)

    01/20/2010   282      MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                          Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and
                          Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 01/20/2010)

    01/20/2010   283      BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)

    01/20/2010   284      MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey Kent
                          Springer (Springer, Lindsey) (Entered: 01/20/2010)

    01/21/2010   285      MOTION to Strike Document(s) 276 and 277 (Re: 277 Response in Opposition
                          to Motion, 276 Response in Opposition to Motion ) by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 01/21/2010)

    01/21/2010   286      REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                          Removal and for Random Reassignment ) by Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 01/21/2010)

    01/21/2010   287      REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 01/21/2010)

    01/21/2010   288      REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by Lindsey
                          Kent Springer (With attachments) (Springer, Lindsey) (Entered: 01/21/2010)

    01/22/2010   289      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #279
                          Granted (Re: 279 MOTION for Leave to Exceed Page Limitation in Reply
                          Regarding Springer's Motion for New Trial,, 262 MOTION for New Trial ) as
                          to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 01/22/2010)

    01/22/2010   290      SCHEDULING ORDER by Judge Stephen P Friot, setting/resetting
                          deadline(s)/hearing(s): ( Sentencing set for 4/19/2010 at 10:00 AM before
                          Judge Stephen P Friot) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 01/22/2010)

    01/25/2010   291      ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s): (
                          Sentencing set for 4/21/2010 at 10:00 AM before Judge Stephen P Friot) (Re:
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                          290 Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s) ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/25/2010)

    01/27/2010   292      RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss Count(s)
                          Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                          MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 285
                          MOTION to Strike Document(s) 276 and 277, 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by USA as to Lindsey Kent Springer (Snoke, Kenneth)
                          (Entered: 01/27/2010)

    01/28/2010   293      OPINION AND ORDER by Judge Stephen P Friot, ruling on
                          motion(s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                          MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                          Reinstate Docket # 257 and # 260 as properly filed under Local Criminal Rules
                          12.1 MOTION 10 days from date of order to refile docket # 257 and # 260 in
                          accordance with Local Civil Rule 7.2 including extended page number therein,
                          267 MOTION to Reconsider, 232 JOINDER in Springer's motion for
                          reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION for New Trial,
                          224 MOTION to Reconsider, 273 MOTION to Strike Document(s), 271
                          MOTION Disqualify, Recuse, Removal and for Random Reassignment, 285
                          MOTION to Strike Document(s) 276 and 277 ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/28/2010)

    02/01/2010   295      MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six regarding
                          regulations not in compliance with APA (Re: 2 Indictment ) by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 02/01/2010)

    02/03/2010   299      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                          denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                          Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove Lindsey
                          Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)

    02/04/2010   302      RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss Count(s)
                          One, Two, Three, Four, Five and Six regarding regulations not in compliance
                          with APA ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          02/04/2010)

    02/05/2010   303      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s), Monthly
                          MOTION Stay pending ruling from Supreme Court in 09−8701 and brief by
                          Lindsey Kent Springer (With attachments) (Springer, Lindsey) Modified on
                          2/11/2010 to seal pdf as this document is STRICKEN per 307 (sac, Dpty Clk).
                          (Entered: 02/05/2010) Contains One or More Restricted PDFs

    02/08/2010   304      MOTION to Strike Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief ) by USA as to
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                          Lindsey Kent Springer (O'Reilly, Charles) Modified on 2/11/2010 to seal pdf as
                          this document is STRICKEN per 307 (sac, Dpty Clk). (Entered: 02/08/2010)
                          Contains One or More Restricted PDFs

    02/08/2010   305      MOTION to Withdraw Document(s) (Re: 303 MOTION to
                          Accelerate/Extend/Reset Hearings/Deadlines) as to Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 2/9/2010 to correct title of event (lml, Dpty
                          Clk). (Entered: 02/08/2010)

    02/08/2010   306      MOTION Stay all Orders by Judge Friot pending determination by Surpeme
                          Court in 09−8701 by Lindsey Kent Springer (With attachments) (Springer,
                          Lindsey) (Entered: 02/08/2010)

    02/09/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Notice); Correction: Edited docket text to reflect correct event
                          (Motion to Withdraw Documents) (Re: 305 MOTION to Withdraw
                          Document(s) ) as to Lindsey Kent Springer (lml, Dpty Clk) (Entered:
                          02/09/2010)

    02/10/2010   307      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #303
                          Stricken as Moot; #304 Stricken as Moot; #305 Granted, striking/withdrawing
                          document(s) (Re: 304 MOTION to Strike Document(s), 305 MOTION to
                          Withdraw Document(s), 303 MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s)Monthly MOTION Stay pending ruling from Supreme
                          Court in 09−8701 and brief ) (Documents Terminated: 303 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s)Monthly MOTION Stay
                          pending ruling from Supreme Court in 09−8701 and brief, 305 MOTION to
                          Withdraw Document(s), 304 MOTION to Strike Document(s) ) as to Lindsey
                          Kent Springer (djh, Dpty Clk) (Entered: 02/10/2010)

    02/10/2010   308      REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 280 MOTION to
                          Dismiss Count(s) ONE for lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 284 MOTION to
                          Dismiss Indictment/Information/Complaint for lack of Article III Standing of
                          United States of America, (2) lack of Article III Case or Controversy, (3) for
                          violation of Title 28, United States Code, Section 547, and accompanying brief
                          in MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) by Lindsey Kent Springer (Springer, Lindsey)
                          (Entered: 02/10/2010)

    02/12/2010   310      RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                          Judge Friot pending determination by Surpeme Court in 09−8701, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent Springer, Oscar
                          Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 02/12/2010)

    02/18/2010   311      REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s) One,
                          Two, Three, Four, Five and Six regarding regulations not in compliance with
                          APA ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 02/18/2010)
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    02/22/2010   312      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #280, 282,
                          284, 306 Denied, #309 Granted (Re: 282 MOTION to Dismiss Count(s) Two,
                          Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                          Article III Jurisdiction of the Facts and Article III Venue, 306 MOTION Stay
                          all Orders by Judge Friot pending determination by Surpeme Court in 09−8701,
                          280 MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                          Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 309
                          JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                          filed on 2/1/10, 2/8/10, 2/10/10), 284 MOTION to Dismiss
                          Indictment/Information/Complaint for lack of Article III Standing of United
                          States of America, (2) lack of Article III Case or Controversy, (3) for violation
                          of Title 28, United States Code, Section 547, and accompanying brief in
                          MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                          Standing of United States of America, (2) lack of Article III Case or
                          Controversy, (3) for violation of Title 28, United States Code, Section 547, and
                          accompanying brief in ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 02/22/2010)

    02/23/2010   313      ORDER by Judge Stephen P Friot re: consideration of non−standard
                          conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 02/23/2010)

    02/25/2010   314      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                          Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                          and Six regarding regulations not in compliance with APA ) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)

    03/16/2010   315      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 03/16/2010) Contains
                          One or More Restricted PDFs

    03/25/2010   316      ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                          pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk)
                          Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered: 03/25/2010)

    03/25/2010   317      NOTICE of Docket Entry Modification; Error: Document not attached;
                          Correction: Attached document and included here (Re: 316 Order, Ruling Re:
                          Modification of Conditions of Pretrial Release ) as to Lindsey Kent Springer,
                          Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/25/2010)

    03/30/2010   318      NOTICE Regarding Defendants' Reference to Variance in Objections to PSIR
                          by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 03/30/2010)

    03/30/2010   319      EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                          Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                          03/30/2010)

    03/30/2010   321      SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                          Lindsey) (Entered: 03/31/2010)

    04/04/2010   322      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing (Re: 290 Scheduling Order, Setting/Resetting
                          Deadline(s)/Hearing(s), 291 Order,, Setting/Resetting Deadline(s)/Hearing(s),
                          Setting/Resetting Deadline(s)/Hearing(s),, ) by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/04/2010)
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    04/05/2010   323      RESPONSE in Opposition to Motion (Re: 322 MOTION to
                          Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of Sentencing
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) Continuance of
                          Sentencing ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/05/2010)

    04/05/2010   324      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #322
                          denied (Re: 322 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          Continuance of Sentencing MOTION to Accelerate/Extend/Reset
                          Hearing(s)/Deadline(s) Continuance of Sentencing ) as to Lindsey Kent
                          Springer (hbo, Dpty Clk) (Entered: 04/05/2010)

    04/06/2010   325      EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified on
                          4/7/2010; This is a multi−event document, see Document # 327 for second
                          event (tjc, Dpty Clk). (Entered: 04/06/2010)

    04/06/2010   327      WITNESS LIST (submitted as part of Doc # 325 ) as to Lindsey Kent Springer
                          (tjc, Dpty Clk) (Entered: 04/07/2010)

    04/07/2010            NOTICE of Docket Entry Modification; Error: This is a multi−event document,
                          which is not allowed in CM/ECF; Correction: Filed the remaining event
                          (Witness List) as Document # 327 (Re: 325 Exhibit List ) as to Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 04/07/2010)

    04/09/2010   331      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #326
                          Denied (Re: 326 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s)
                          to continue sentencing until proper notice has been given ) as to Oscar Amos
                          Stilley Modified on 4/23/2010 to show Oscar Amos Stilley as single filer(cds,
                          Dpty Clk). (Entered: 04/09/2010)

    04/09/2010   332      REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 04/09/2010)

    04/16/2010   333      SEALED DOCUMENT (O'Reilly, Charles) (Entered: 04/16/2010) Contains
                          One or More Restricted PDFs

    04/23/2010   336      MINUTES of Proceedings − held before Judge Stephen P Friot: Sentencing
                          held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne) (With
                          attachments) (pll, Dpty Clk) (Entered: 04/28/2010)

    04/23/2010   339      MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                          Appeal by Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)

    04/23/2010   340      NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and Commitment,
                          Entering Judgment ) as to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered:
                          04/29/2010)

    04/23/2010   341      APPEAL FEES Paid in Full (Re: 340 Notice of Appeal to Circuit Court ) by
                          Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)

    04/23/2010            ***Remark: appeal forms given (Re: 340 Notice of Appeal to Circuit Court ) as
                          to Lindsey Kent Springer (s−srl, Dpty Clk) (Entered: 04/29/2010)

    04/27/2010   334      ORDER by Judge Stephen P Friot entered without prejudice to the right of
                          standby counsel to apply for compensation for their services, terminating
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                          attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                          Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)

    04/27/2010   335      ***Remark: Order [Dkt. #334] mailed to each defendant c/o David L. Moss
                          Correctional Center, 300 N. Denver Ave., Tulsa, OK 74103 (Re: 334 Order,,
                          Adding/Terminating Attorney(s), Adding/Terminating Attorney(s) ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered:
                          04/27/2010)

    04/28/2010   337      JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                          judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)

    04/29/2010   342      PRELIMINARY RECORD Sent to Circuit Court (Re: 340 Notice of Appeal to
                          Circuit Court ) as to Lindsey Kent Springer (With attachments) (s−srl, Dpty
                          Clk) (Entered: 04/29/2010)

    04/29/2010   343      MOTION Transcript at Public Expense by Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) (Entered: 04/29/2010)

    04/29/2010   344      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 10−5055 (#340) (Re: 340 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer (sam, Dpty Clk) (Entered: 04/29/2010)

    04/30/2010   345      MOTION Amended Request For Stay of Execution of Sentence and Judgement
                          and Appeal Bond Pending Appeal (Re: 337 Judgment and Commitment,
                          Entering Judgment ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
                          5/3/2010 to seal PDF; Document STRICKEN per Order # 352 (tjc, Dpty Clk).
                          (Entered: 04/30/2010) Contains One or More Restricted PDFs

    04/30/2010   346      ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                          Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)

    04/30/2010   347      MOTION to Strike Document(s) (Re: 345 MOTION Amended Request For
                          Stay of Execution of Sentence and Judgement and Appeal Bond Pending
                          Appeal ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/30/2010)

    04/30/2010   350      RESPONSE in Support of Motion (Re: 343 MOTION Transcript at Public
                          Expense ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          04/30/2010)

    04/30/2010   351      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #343
                          Granted (Re: 343 MOTION Transcript at Public Expense ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 04/30/2010)

    04/30/2010   352      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 345
                          MOTION Amended Request For Stay of Execution of Sentence and Judgement
                          and Appeal Bond Pending Appeal ) (Documents Terminated: 345 MOTION
                          Amended Request For Stay of Execution of Sentence and Judgement and
                          Appeal Bond Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty Clk)
                          (Entered: 04/30/2010)

    04/30/2010   354      MOTION for Leave to Exceed Page Limitation For Leave by Lindsey Kent
                          Springer (With attachments) (Springer, Lindsey) (Entered: 04/30/2010)

    05/03/2010   356
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                          RESPONSE in Opposition to Motion (Re: 354 MOTION for Leave to Exceed
                          Page Limitation For Leave ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 05/03/2010)

    05/03/2010   357      RESPONSE (Re: 339 MOTION for Stay of Execution of Sentence MOTION
                          for Release Pending Appeal ) by USA as to Lindsey Kent Springer (O'Reilly,
                          Charles) (Entered: 05/03/2010)

    05/03/2010   358      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #354
                          Granted (Re: 354 MOTION for Leave to Exceed Page Limitation For Leave,
                          345 MOTION Amended Request For Stay of Execution of Sentence and
                          Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                          (pll, Dpty Clk) (Entered: 05/03/2010)

    05/03/2010   359      MOTION For Stay Of Judgement (Re: 339 MOTION for Stay of Execution of
                          Sentence MOTION for Release Pending Appeal ) by Lindsey Kent Springer
                          (Springer, Lindsey) Modified on 5/4/2010; this is a two−part motion of which
                          only one part was efiled − see 360 for Motion for Release Pending Appeal (sac,
                          Dpty Clk). (Entered: 05/03/2010)

    05/03/2010   360      MOTION for Release Pending Appeal (submitted as part of 359 ) by Lindsey
                          Kent Springer (sac, Dpty Clk) (Entered: 05/04/2010)

    05/04/2010            NOTICE of Docket Entry Modification; Error: this is a two−part motion of
                          which only one part was efiled; Correction: efiled second part of motion − see
                          360 (Re: 359 MOTION for Stay Of Judgement ) as to Lindsey Kent Springer
                          (sac, Dpty Clk) (Entered: 05/04/2010)

    05/06/2010   361      RESPONSE in Opposition to Motion (Re: 359 MOTION for Stay Of
                          Judgement ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                          05/06/2010)

    05/06/2010   362      ORDER from Circuit Court partially consolidating appeals (Re: 348 Notice of
                          Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court ) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 05/06/2010)

    05/07/2010   363      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #359, 360
                          Denied (Re: 360 MOTION for Release Pending Appeal (submitted as part of
                          359 ), 359 MOTION for Stay Of Judgement ) as to Lindsey Kent Springer (pll,
                          Dpty Clk) (Entered: 05/07/2010)

    05/09/2010   364      MOTION For Delivery of Filed Documents by Lindsey Kent Springer
                          (Springer, Lindsey) (Entered: 05/09/2010)

    05/24/2010   365      TRANSCRIPT ORDER FORM as to Lindsey Kent Springer (With
                          attachments) (Springer, Lindsey) Modified on 5/25/2010 to seal the pdf as it is
                          not fully executed and should have been submitted to the court reporter (sac,
                          Dpty Clk). (Entered: 05/24/2010) Contains One or More Restricted PDFs

    05/25/2010            NOTICE of Docket Entry Modification; Error: this document should have been
                          submitted to the court reporter; Correction: notified Lindsey Springer that this
                          document must first be submitted to the court reporter and that the court
                          reporter will file it of record once it is fully executed (Re: 365 Transcript Order
                          Form ) as to Lindsey Kent Springer (sac, Dpty Clk) (Entered: 05/25/2010)

    05/28/2010   366
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                          MOTION to Unseal Document(s) (Re: 203 Sealed Order, 186 Sealed Order,
                          181 SEALED MOTION, 182 Sealed Document, 202 SEALED MOTION ) by
                          USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                          (Entered: 05/28/2010)

    06/01/2010   367      DESIGNATION of Record on Appeal (Re: 340 Notice of Appeal to Circuit
                          Court ) as to Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                          (Entered: 06/01/2010)

    06/01/2010   368      MOTION to Reconsider Release Pending Appeal (Re: 363 Order, Ruling on
                          Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer, Lindsey)
                          Modified on 6/2/2010; This is two−part motion, see Doc # 369 for second event
                          (tjc, Dpty Clk). (Entered: 06/01/2010)

    06/01/2010   369      MOTION for Hearing (submitted as part of Doc # 368 ) by Lindsey Kent
                          Springer (tjc, Dpty Clk) (Entered: 06/02/2010)

    06/02/2010            NOTICE of Docket Entry Modification; Error: Document # 368 is a two−part
                          motion, but not all parts were filed; Correction: Filed the remaining motion part
                          as Document # 369 (Re: 368 MOTION to Reconsider Release Pending Appeal
                          ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/02/2010)

    06/03/2010   370      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #366
                          Granted, unsealing document(s) (Re: 366 MOTION to Unseal Document(s),
                          182 Sealed Document, 186 Sealed Order, 203 Sealed Order, 181 SEALED
                          MOTION, 202 SEALED MOTION ) as to Lindsey Kent Springer, Oscar Amos
                          Stilley (pll, Dpty Clk) (Entered: 06/03/2010)

    06/04/2010   371      Amended MOTION to Reconsider Re: 369 MOTION for Hearing (submitted as
                          part of Doc # 368 ), 368 MOTION to Reconsider Release Pending Appeal ) by
                          Lindsey Kent Springer (Springer, Lindsey) Modified on 6/7/2010 to correct
                          event; also this is two−part motion, see Document # 372 for second event (tjc,
                          Dpty Clk). (Entered: 06/04/2010)

    06/04/2010   372      Amended MOTION for Hearing re: Evidentiary (submitted as part of Doc #
                          371 ) by Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/07/2010)

    06/07/2010            NOTICE of Docket Entry Modification; Error: This was filed using the
                          incorrect event (Motion to Amend) and Document # 371 is a two−part motion,
                          but not all parts were filed; Correction: Edited docket text to reflect the correct
                          event and filed the remaining motion part as Document # 372 (Re: 371
                          MOTION to Reconsider ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered:
                          06/07/2010)

    06/08/2010   373      MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                          Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/08/2010)

    06/08/2010   374      ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                          ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                          Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                          Dpty Clk) (Entered: 06/08/2010)

    06/08/2010   375      RESPONSE in Opposition to Motion (Re: 371 MOTION to Reconsider, 368
                          MOTION to Reconsider Release Pending Appeal ) by USA as to Lindsey Kent
                          Springer (O'Reilly, Charles) (Entered: 06/08/2010)
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    06/08/2010   376      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #364 moot
                          (Re: 364 MOTION For Delivery of Filed Documents ) as to Lindsey Kent
                          Springer (pll, Dpty Clk) (Entered: 06/08/2010)

    06/08/2010   377      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #368, 369,
                          371, 372 Denied (Re: 369 MOTION for Hearing (submitted as part of Doc #
                          368 ), 371 MOTION to Reconsider, 372 Amended MOTION for Hearing re:
                          Evidentiary (submitted as part of Doc # 371 ), 368 MOTION to Reconsider
                          Release Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                          06/08/2010)

    06/09/2010   378      TRANSCRIPT ORDER FORM (Transcripts ordered from Tracy Washbourne)
                          (Re: 340 Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer (s−srl,
                          Dpty Clk) (Entered: 06/09/2010)

    06/10/2010   379      MINUTE ORDER by Court Clerk, directing Jerold W. Barringer to file by July
                          1, 2010 a Motion for Admission Pro Hac Vice per Local Civil Rule 83.2.
                          Additionally, if you intend to practice in this district in the future and want to
                          become a member of this district, please submit an application for attorney
                          admission. as to Lindsey Kent Springer, Oscar Amos Stilley (lal, Dpty Clk)
                          (Entered: 06/10/2010)

    06/16/2010   380      Supplemental CERTIFICATE of Service Due to Returned Mail (Re: 375
                          Response in Opposition to Motion, 373 MOTION to Withdraw Attorney(s),
                          366 MOTION to Unseal Document(s) ) by USA as to Lindsey Kent Springer,
                          Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/16/2010)

    06/16/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justice Center, 300 N
                          Denver, Tulsa, OK 74103 Returned − marked Return to Sender − not in
                          custody. Remailed on 06/17/10 to FCI Forrest City Low, PO Box 9000, Forrest
                          City, AR 72336 − New address obtained from BOP Website. (Re: 376 Order,
                          Ruling on Motion(s)/Document(s), 377 Order,, Ruling on
                          Motion(s)/Document(s), Ruling on Motion(s)/Document(s), 374 Order,
                          Adding/Terminating Attorney(s), Ruling on Motion(s)/Document(s) ) as to
                          Oscar Amos Stilley (sdc, Dpty Clk) Modified on 6/18/2010 to remove
                          additional Defendant (sdc, Dpty Clk). (Entered: 06/17/2010)

    07/07/2010   381      ORDER by Judge Stephen P Friot − Certificate pursuant to 18 USC
                          3006A(d)(3) re: CJA voucher as to Lindsey Kent Springer (pll, Dpty Clk)
                          (Entered: 07/07/2010)

    07/12/2010   382      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal 43 Minutes of Motion Hearing,
                          Minutes of Scheduling Conference, Ruling on Motion(s)/Document(s), Taking
                          Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk). Modified on
                          7/13/2010 to create link to 340 (sac, Dpty Clk). Modified on 10/14/2010 to
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                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   383      TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                          07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 100 Minutes of
                          Motion Hearing, Ruling on Motion(s)/Document(s), Striking/Terminating
                          Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley (sam,
                          Dpty Clk) Modified on 10/15/2010 to remove transcript access restriction
                          (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   384      TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                          10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                          (Pages: 139). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 207 Minutes of
                          Motion Hearing, Minutes of Pretrial Conference, Ruling on
                          Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)

    07/12/2010   385      TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                          on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                          Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                          Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                          Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                          Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                          Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to include
                          that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                          07/12/2010) Contains One or More Restricted PDFs

    07/12/2010   386      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/27/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 243
                          to 515). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 340 Notice of Appeal to Circuit Court, 221 Minutes of Jury Trial
                          Held, Ruling on Motion(s)/Document(s)) as to Lindsey Kent Springer, Oscar
                          Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to remove transcript
                          access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)
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    07/12/2010   387      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/28/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 516
                          to 640). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 222 Minutes of Jury Trial Held, Setting/Resetting
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   388      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/29/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 641
                          to 880). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 340 Notice of Appeal to Circuit Court, 223 Minutes of Jury Trial
                          Held, Ruling on Motion(s)/Document(s), Setting/Resetting Scheduling Order
                          Date(s)) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk)
                          Modified on 10/15/2010 to remove transcript access restriction (a−hc, Dpty
                          Clk). (Entered: 07/12/2010)

    07/12/2010   389      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/30/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 881
                          to 1130). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 229 Minutes of Jury Trial Held, Setting/Resetting Scheduling
                          Order Date(s) 340 Notice of Appeal to Circuit Court) as to Lindsey Kent
                          Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   390      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/02/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1131 to 1327). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 230 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court ) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
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    07/12/2010   391      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/03/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1328 to 1608). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 231 Minutes of
                          Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   392      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/04/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1609 to 1934). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 233 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   393      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/05/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          1935 to 2202). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 234 Minutes of
                          Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   394      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/09/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2203 to 2454). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 239 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

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                          TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/10/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2455 to 2669). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 240 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   396      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/12/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2670 to 2949). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 241 Minutes of Jury Trial Held, Setting/Resetting
                          Scheduling Order Date(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   397      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/13/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          2950 to 3056). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 242 Minutes of
                          Jury Trial Held, Setting/Resetting Scheduling Order Date(s)) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   398      TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/16/2009
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                          3057 to 3090). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                          file a Transcript Redaction Request within 21 calendar days. If a party fails to
                          request redaction, this unredacted transcript may be made electronically
                          available to the public without redaction after 90 calendar days. Any party
                          needing a copy of the transcript to review for redaction purposes may view the
                          transcript at the court public terminal at no charge or may purchase a copy from
                          the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 243 Minutes of
                          Jury Trial Completed, Striking/Terminating Deadline(s)/Hearing(s)) as to
                          Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on
                          10/15/2010 to remove transcript access restriction (a−hc, Dpty Clk). (Entered:
                          07/12/2010)
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    07/12/2010   399      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/21/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 1 to
                          210). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   400      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/22/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 211
                          to 390). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/12/2010   401      TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on 04/23/2010
                          before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages: 391
                          to 469). NOTICE RE REDACTION OF TRANSCRIPTS: A party must file a
                          Transcript Redaction Request within 21 calendar days. If a party fails to request
                          redaction, this unredacted transcript may be made electronically available to the
                          public without redaction after 90 calendar days. Any party needing a copy of
                          the transcript to review for redaction purposes may view the transcript at the
                          court public terminal at no charge or may purchase a copy from the court
                          reporter. (Re: 336 Minutes of Sentencing, Striking/Terminating
                          Deadline(s)/Hearing(s), 340 Notice of Appeal to Circuit Court) as to Lindsey
                          Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 10/15/2010 to
                          remove transcript access restriction (a−hc, Dpty Clk). (Entered: 07/12/2010)

    07/13/2010   402      MOTION for Writ of Error Coram Nobis by Lindsey Kent Springer (s−srt,
                          Dpty Clk) (Entered: 07/14/2010)

    07/13/2010   403      MOTION for Appointment of Counsel Regarding Motion for Writ of Error
                          Coram Nobis by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          07/14/2010)

    07/13/2010   404      BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error Coram Nobis
                          ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)

    07/13/2010   405      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer
                          (s−srt, Dpty Clk) (Entered: 07/14/2010)

    07/13/2010   406      AFFIDAVIT of Lindsey Kent Springer (titled "Declaration") as to Lindsey
                          Kent Springer (s−srt, Dpty Clk) (Entered: 07/14/2010)
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    07/13/2010   407      CERTIFICATE of Service (Re: 405 MOTION for Leave to Exceed Page
                          Limitation, 402 MOTION for Writ of Error Coram Nobis, 404 Brief in Support
                          of Motion, 403 MOTION for Appointment of Counsel Regarding Motion for
                          Writ of Error Coram Nobis, 406 Affidavit ) as to Lindsey Kent Springer (s−srt,
                          Dpty Clk) (Entered: 07/14/2010)

    07/15/2010            MAIL to Oscar Amos Stilley, David L. Moss Criminal Justic Center, 300 N
                          Denver, Tulsa OK 74103 Returned − marked return to sender − not in custody.
                          Remailed on 7/15/10 − FCI Forrest City Low, PO Box 9000, Forrest City, AR
                          72336. (Re: 379 Order, Directing Attorney to File PHV Motion,, ) as to Oscar
                          Amos Stilley (sdc, Dpty Clk) Modified on 7/16/2010 ro remove reference to
                          Lindsey Springer (sdc, Dpty Clk). (Entered: 07/15/2010)

    07/16/2010   408      MOTION for Leave to Exceed Page Limitation by Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 07/16/2010)

    07/16/2010   409      Second BRIEF in Support of Motion (Re: 402 MOTION for Writ of Error
                          Coram Nobis ) by Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                          (Entered: 07/16/2010)

    07/16/2010   410      CERTIFICATE of Service (Re: 408 MOTION for Leave to Exceed Page
                          Limitation, 409 Brief in Support of Motion ) as to Lindsey Kent Springer (sdc,
                          Dpty Clk) (Entered: 07/16/2010)

    07/16/2010   411      RESPONSE in Opposition to Motion (Re: 405 MOTION for Leave to Exceed
                          Page Limitation, 402 MOTION for Writ of Error Coram Nobis, 403 MOTION
                          for Appointment of Counsel Regarding Motion for Writ of Error Coram Nobis,
                          408 MOTION for Leave to Exceed Page Limitation ) by USA as to Lindsey
                          Kent Springer (O'Reilly, Charles) (Entered: 07/16/2010)

    07/26/2010   412      RECORD on Appeal Sent to Circuit Court (Record includes: 4 volumes) (Re:
                          348 Notice of Appeal to Circuit Court, 340 Notice of Appeal to Circuit Court )
                          as to Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (s−srt,
                          Dpty Clk) (Entered: 07/26/2010)

    07/29/2010   413      NOTICE of Change of Address by Lindsey Kent Springer, Lindsey K Springer
                          as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)

    07/29/2010   414      MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts by Lindsey Kent Springer (s−srt, Dpty Clk) Modified on 11/9/2010;
                          Document STRICKEN per Order # 427 (tjc, Dpty Clk). (Entered: 07/29/2010)

    07/29/2010   415      REPLY to Response to Motion (Re: 402 MOTION for Writ of Error Coram
                          Nobis ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 07/29/2010)

    08/11/2010   416      MOTION for Release, MOTION for Stay of Judgment Pending Ruling on
                          Motion for Writ of Coram Nobis, MOTION for Hearing by Lindsey Kent
                          Springer (s−srt, Dpty Clk) (Entered: 08/13/2010)

    08/13/2010   417      ***Remark: Petition for writ of mandamus filed at 10th Circuit Court. Case
                          number 10−5101 as to Lindsey Kent Springer (sam, Dpty Clk) (Entered:
                          08/16/2010)

    08/30/2010   419      RESPONSE in Opposition to Motion (Re: 416 MOTION for Release MOTION
                          for Stay of Judgment Pending Ruling on Motion for Writ of Coram Nobis
                          MOTION for Hearing ) by USA as to Lindsey Kent Springer (O'Reilly,
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                          Charles) (Entered: 08/30/2010)

    08/31/2010            ***Remark: rec'd 10th Circuit Entry of Appearance, Motion for Informa
                          Pauperis, and Petition for Writ of Error Coram Nobis of Mandamas −
                          forwarded to 10th Circuit as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          (Entered: 08/31/2010)

    09/09/2010   420      REPLY to Response to Motion (Re: 416 MOTION for Release MOTION for
                          Stay of Judgment Pending Ruling on Motion for Writ of Coram Nobis
                          MOTION for Hearing ) by Lindsey Kent Springer (s−srt, Dpty Clk) (Entered:
                          09/09/2010)

    09/09/2010   421      ATTORNEY APPEARANCE by Jeffrey Andrew Gallant on behalf of USA
                          (Gallant, Jeffrey) (Entered: 09/09/2010)

    09/13/2010   422      TRANSCRIPT of Proceedings (Unredacted) of Miscellaneous Hearing held on
                          03/30/2009 before Magistrate Judge Paul J Cleary (Court Reporter: Tracy
                          Washbourne) (Pages: 1−36). NOTICE RE REDACTION OF TRANSCRIPTS:
                          A party must file a Transcript Redaction Request within 21 calendar days. If a
                          party fails to request redaction, this unredacted transcript may be made
                          electronically available to the public without redaction after 90 calendar days.
                          Any party needing a copy of the transcript to review for redaction purposes may
                          view the transcript at the court public terminal at no charge or may purchase a
                          copy from the court reporter. (Re: 23 Minutes of Miscellaneous Hearing,
                          Ruling on Motion(s)/Document(s), Striking/Terminating
                          Deadline(s)/Hearing(s)) as to Lindsey Kent Springer, Oscar Amos Stilley (sam,
                          Dpty Clk) Modified on 12/20/2010 to remove transcript access restriction
                          (a−hc, Dpty Clk). (Entered: 09/13/2010)

    10/22/2010   423      ORDER from Circuit Court denying petition for writ of mandamus (Re: 417
                          Remark ) as to Lindsey Kent Springer (sam, Dpty Clk) (Entered: 10/25/2010)

    11/01/2010   424      MOTION for Release Pending Appeal, MOTION to Reconsider (Re: 377
                          Order,, Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                          363 Order, Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer
                          (s−srt, Dpty Clk) Modified on 11/3/2010−STRICKEN PER ORDER # 426
                          (lml, Dpty Clk). (Entered: 11/01/2010)

    11/01/2010   425      BRIEF in Support of Motion (Re: 424 MOTION for Release Pending Appeal
                          MOTION to Reconsider ) by Lindsey Kent Springer (s−srt, Dpty Clk) Modified
                          on 11/3/2010−STRICKEN PER ORDER # 426 (lml, Dpty Clk). (Main
                          Document 425 replaced on 2/11/2011) (lml, Dpty Clk). (Entered: 11/01/2010)

    11/02/2010   426      ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 425
                          Brief in Support of Motion, 424 MOTION for Release Pending Appeal
                          MOTION to Reconsider, 377 Order,, Ruling on Motion(s)/Document(s), Ruling
                          on Motion(s)/Document(s), 363 Order, Ruling on Motion(s)/Document(s) )
                          (Documents Terminated: 424 MOTION for Release Pending Appeal MOTION
                          to Reconsider, 425 Brief in Support of Motion ) as to Lindsey Kent Springer
                          (cds, Dpty Clk) (Entered: 11/02/2010)

    11/08/2010   427      ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #405, 408
                          granted, #402, 403, 416 denied, striking/withdrawing document(s) (Re: 405
                          MOTION for Leave to Exceed Page Limitation, 402 MOTION for Writ of
                          Error Coram Nobis, 403 MOTION for Appointment of Counsel Regarding
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                          Motion for Writ of Error Coram Nobis, 408 MOTION for Leave to Exceed
                          Page Limitation, 416 MOTION for Release MOTION for Stay of Judgment
                          Pending Ruling on Motion for Writ of Coram Nobis MOTION for Hearing, 414
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts, 409 Brief in Support of Motion ) (Documents Terminated: 414
                          MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) to proof
                          transcripts ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 11/08/2010)

    11/17/2010   428      NOTICE OF APPEAL to Circuit Court (Re: 426 Order, Striking/Withdrawing
                          Document(s),,, Striking/Withdrawing Document(s), 427 Order, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s),,, Ruling on
                          Motion(s)/Document(s), Striking/Withdrawing Document(s), ) as to Lindsey
                          Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)

    11/19/2010            ***Remark: Per 10th Circuit this is new Notice of Appeal (Re: 428 Notice of
                          Appeal to Circuit Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk)
                          (Entered: 11/19/2010)

    11/19/2010            ***Remark: appeal forms mailed (Re: 428 Notice of Appeal to Circuit Court, )
                          as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 11/19/2010)

    11/19/2010   429      PRELIMINARY RECORD Sent to Circuit Court (Re: 428 Notice of Appeal to
                          Circuit Court, ) as to Lindsey Kent Springer (With attachments) (s−srt, Dpty
                          Clk) (Entered: 11/19/2010)

    11/19/2010   430      APPEAL NUMBER INFORMATION from Circuit Court assigning Case
                          Number 10−5156 (#428) (Re: 428 Notice of Appeal to Circuit Court, ) as to
                          Lindsey Kent Springer (sam, Dpty Clk) (Entered: 11/22/2010)

    12/20/2010   431      TRANSCRIPT ORDER FORM (Transcripts are not necessary or are already on
                          file ) (Re: 428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer
                          (s−srt, Dpty Clk) (Entered: 12/20/2010)

    12/20/2010   432      DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to Circuit
                          Court, ) as to Lindsey Kent Springer (s−srt, Dpty Clk) (Entered: 12/20/2010)

    12/21/2010   433      MINUTE ORDER by Court Clerk, Having reviewed the docket entry and/or
                          PDF for Dkt # 432, the Court has determined that the designated docket sheet
                          was not attached to the pleading. Attorney Jerold Barringer is hereby directed
                          to re−file an Amended Designation of Record on Appeal with the designated
                          docket sheet attached within 24 hours. (Re: 432 Designation of Record on
                          Appeal ) as to Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 12/21/2010)

    12/28/2010   434      LETTER from Circuit Court regarding 1st request for record (Re: 428 Notice of
                          Appeal to Circuit Court, ) as to Lindsey Kent Springer (sam, Dpty Clk)
                          (Entered: 12/28/2010)

    01/03/2011   435      Amended DESIGNATION of Record on Appeal (Re: 428 Notice of Appeal to
                          Circuit Court, ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          01/04/2011)

    01/06/2011   436      RECORD on Appeal Sent to Circuit Court (Record includes: 2 Volumes) (Re:
                          428 Notice of Appeal to Circuit Court, ) as to Lindsey Kent Springer (With
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                           attachments) (sdc, Dpty Clk) (Entered: 01/06/2011)

    02/16/2011   437       MOTION for Leave to Exceed Page Limitation by Lindsey K Springer as to
                           Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)

    02/16/2011   438       MOTION for New Trial by Lindsey K Springer as to Lindsey Kent Springer
                           (sdc, Dpty Clk) (Entered: 02/16/2011)

    02/16/2011   439       MOTION for Hearing (Re: 438 MOTION for New Trial ) by Lindsey K
                           Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)

    02/16/2011   440       BRIEF in Support of Motion (Re: 438 MOTION for New Trial ) by Lindsey K
                           Springer as to Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                           (Entered: 02/17/2011)

    02/18/2011   441       RESPONSE in Opposition to Motion (Re: 438 MOTION for New Trial, 439
                           MOTION for Hearing, 437 MOTION for Leave to Exceed Page Limitation ) by
                           USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 02/18/2011)

    02/22/2011   442       ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #437
                           Granted, setting/resetting deadline(s)/hearing(s): ( Miscellaneous Deadline set
                           for 3/15/2011) (Re: 437 MOTION for Leave to Exceed Page Limitation, 438
                           MOTION for New Trial, 439 MOTION for Hearing ) as to Lindsey Kent
                           Springer (cds, Dpty Clk) (Entered: 02/22/2011)

    03/14/2011   445       REPLY to Response to Motion (Re: 439 MOTION for Hearing ) by Lindsey K
                           Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/15/2011)

    03/17/2011   446   47 ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #438
                          denied, #439 denied (Re: 438 MOTION for New Trial, 439 MOTION for
                          Hearing ) as to Lindsey Kent Springer (djh, Dpty Clk) (Entered: 03/17/2011)

    03/28/2011   447   45 NOTICE OF APPEAL to Circuit Court (Re: 446 Order, Ruling on
                          Motion(s)/Document(s) ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                          03/29/2011)

    03/28/2011   448       ***Remark: appeal forms sent (Re: 447 Notice of Appeal to Circuit Court ) as
                           to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/29/2011)
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            IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                  )
                                             )
        Plaintiff,                           )
                                             )
  vs.                                        )   Case No. 09-CR-043-SPF
                                             )
  LINDSEY KENT SPRINGER,                     )
  OSCAR AMOS STILLEY,                        )
                                             )
        Defendants.                          )

                                         ORDER
        Defendant Lindsey Kent Springer has filed a motion for new trial (doc. no. 438)
  and a motion for an evidentiary hearing in order to develop evidence in support of his
  motion for a new trial (doc. no. 439). The briefing is complete.
        Although this case is on appeal to the Tenth Circuit, this court has jurisdiction
  to deny (although not grant) Mr. Springer’s motion for new trial. See, United States
  v. Palmer, 766 F.2d 1441, 1445 (10th Cir. 1985) (Rule 33, Fed. R. Crim. P., only
  deprives the district court of jurisdiction to grant a motion for a new trial during the
  pendency of an appeal and the district court is empowered, during the pendency of an
  appeal, either to deny the motion or to certify to the court of appeals that it would
  grant the motion on remand); United States v. Varah, 952 F.2d 1181, 1182-83 (10th
  Cir. 1991) (same).
        A motion for a new trial grounded on any reason other than newly discovered
  evidence must be filed within fourteen days after the guilty verdict. Rule 33(b)(2),
  Fed. R. Crim. P. Mr. Springer’s motion is filed long after the fourteen-day deadline.
  A motion for a new trial based on newly discovered evidence, however, may be filed
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  within three years after a guilty verdict, Rule 33(b)(1). Possibly for this reason, Mr.
  Springer characterizes his motion as one based on newly discovered evidence.
        A five-part test is applied to determine whether “newly discovered evidence”
  warrants a new trial. United States v. Quintanilla, 193 F.3d 1139, 1147 (10th Cir.
  1999). A defendant must show 1) that the evidence was discovered after trial, 2) that
  the failure to learn of the evidence was not caused by his own lack of diligence, 3) that
  the new evidence is not merely impeaching, 4) that the new evidence is material to the
  principal issues involved, and 5) that the new evidence is of such a nature that in a
  new trial it would probably produce an acquittal. Id.
        None of these requirements are met by Mr. Springer’s motion, which is
  rambling and difficult to follow. The declarations of Special Agent Shern and others
  referenced in the motion were filed in 2008, before Mr. Springer’s trial, and thus do
  not constitute newly discovered evidence. There is no relevance, other than extremely
  limited impeachment value, to Special Agent Stern’s inability to understand Mr.
  Springer’s question regarding what the delegation of his authority was on April 21,
  2010. To the extent that the motion is premised on Mr. Springer’s contention that the
  IRS Restructuring Act of 1998 prevented IRS special agents from exercising authority
  outside the District of Columbia, the court has previously rejected this contention,
  which is not an evidentiary matter in any event. There is nothing about this
  contention, or any other contention stated in the motion, that suggests a new trial
  would probably produce an acquittal.
        After careful consideration the court finds that Mr. Springer’s motion is
  untimely. The court also finds that no showing of newly discovered evidence so as
  to warrant a new trial has been made. Finally, Mr. Springer has not shown that he is
  entitled to an evidentiary hearing to develop these matters further.



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           Mr. Springer’s motion for a new trial (doc. no. 438), and his motion for an
  evidentiary hearing (doc. no. 439), are each DENIED.
           Dated this 17th day of March, 2011.




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